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                            UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLUMBIA

IN RE: LORIE LYNN RONES                                          :
                                                                 :
                                                                 :        Case No.: 18-00728
                                                                 :
                                    Debtor.                      :        Chapter 13


            OPPOSITION TO MOTION SEEKING RELIEF FROM
    AUTOMATIC STAY AND CO-DEBTOR STAY AND TO RECLAIM PROPERTY

              Debtor(s)’ counsel, respectfully oppose BMW Bank of North America’s (the

“movant”) Motion Seeking Relief from Automatic Stay and Co-Debtor Stay and to Reclaim

Property, because the debtor(s) is uncertain that they are in the arrearage for the post-petition

payments as alleged by the movant.

              In support of this opposition, counsel states as follows:

              1.        On November 9, 2018, the debtor(s) filed a voluntary petition for relief under

Chapter 13 of the Bankruptcy Code.

              2.        On or about March 29, 2019, the movant filed the above-referenced motion,

alleging that the debtor(s) are in the arrearage with their post-petition payments due to the movant.

              3.        In that regard, the debtor(s) intends to confer with the movant as to whether

their records are accurate as it relates to the debtor(s)’ account with the movant, and if the movant’s

records are partially inaccurate or accurate, than the debtor(s) will either pay the arrearage or enter

into a consent order with the movant.

              4.        Therefore, counsel requests that the Motion filed by the movant be denied.

              WHEREFORE, for these and such other reasons as may appear to the Court, counsel
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respectfully requests that the movant’s motion be denied.

                                                      By    /s/ Kevin Judd____________
                                                            Kevin D. Judd
                                                            Attorney for Debtor, Bar #434926
                                                            601 Pennsylvania Avenue, NW
                                                            Suite 900 - South Building
                                                            Washington, D.C. 20004
                                                            Telephone: 202-483-6070
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                                 CERTIFICATE OF SERVICE

             I hereby certify that on April 2, 2019, the foregoing Opposition to Motion Seeking
Relief from Automatic Stay and Co-Debtor Stay and to Reclaim Property was -e-mailed, via ECF to
the Chapter 13 Trustee, Nancy L. Spencer Grisby and e-mailed via ECF to:

Michael J. Klima, Esq.
8028 Ritchie Hwy., Ste. 300
Pasedena, MD 21122




                                                   /s/ Kevin Judd__________
                                                   Kevin D. Judd
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                           UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLUMBIA

IN RE: LORIE LYNN RONES                                      :
                                                             :
                                                             :      Case No.: 18-00728
                                                             :
                                  Debtor.                    :      Chapter 13


                                             ORDER

             Upon consideration of Debtor’s Opposition to Motion Seeking Relief from Automatic

Stay and Co-Debtor Stay and to Reclaim Property and the entire record herein,

             ORDERED, that the Motion Seeking Relief from Automatic Stay and Co-Debtor Stay

and to Reclaim Property is hereby denied.


Copies to:

Nancy L. Spencer Grisby, Bankruptcy Trustee
185 Admiral Cochrane Drive
Annapolis, MD 21401

Kevin D. Judd, Esq.
601 Pennsylvania Avenue, NW
Suite 900 - South Building
Washington, DC 20004
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8028 Ritchie Hwy., Ste. 300
Pasedena, MD 21122

Lorie Lynn Rones
2920 Pennsylvania Ave., SE
Washington, DC 20020



                                      End of Order
